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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------------------   x
MARSHALL W. COLLINS, GARY
DANNENBERG, THEODORE M. KOLER, AND
ELMER WALKER, Individually and on Behalf of
All Others Similarly Situated
                                                                     II Civ. 1288 (JSR)
              Plaintiffs,

              -v-

OlLSANDS QUEST INC. (f/k/a CAN WEST
PETROLEUM CORPORATfON),
CHRISTOPHER H. HOPKINS, T. MURRAY
WILSON, KARIM HIRJl, GARTH WONG,
RONALD PHILLIPS, THOMAS MILNE,
GORDON TALLMAN, WILLIAM SCOTT
THOMPSON, PAMELA WALLIN, JOHN READ,
AND MCDANIEL & ASSOCIATES
CONSULTINGS LTD.,

              DeFendants.

--------------------------------------------------------------   x
/1/ re:                                                              Chapter 15

OlLSANDS QUEST INC., el aI.,                                         12-10476

              Applicants in Foreign Proceedings.                     (Jointly Administered)

--------------------------------------------------------------   x
     NOTICE OF FILING OF RECEIVERSHIP ORDER OF THE ALBERTA COURT
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PLEASE TAKE NOTICE that on December 10,2012, Ernst & Young Inc. ("E&Y"), the
Monitor and foreign representative of Oilsands Quest Inc. and certain of its direct and indirect
subsidiaries (collectively, the "Oilsands Group"), Stripper Energy Services Inc., Oilsands Quest
Technology Inc., 1259882 Alberta Ltd., Western Petrochemicals Group, Oilsands Quest Sask
Inc. ("Sask"), Township Petroleum Corporation ("Township"), and 1291329 Albel1a Ltd.
("1 29"), in proceedings under Canada's Companies' Creditors Arrallgemellt Act, R.S.C. 1985, c.
C-36, as amended, pending before the Court of Queen's Bench Alberta (the "Alberta Court"),
filed in the above-captioned cases a copy of the Receivership Order of the Alberta Co urt dated
November 29, 2012 (the "Receivership Order"), appointing E&Y as Receiver of Sask,
Township, and 129. A copy of the Receivership Order is annexed hereto as Exhibit A.

PLEASE TAKE FURTHER NOTICE that the Receivership Order provides for Sask,
Township, and 129 to be placed into receivership and for E&Y to be appointed as Receiver.
Such change in the nature of the proceedings with respect to these entities and in the nature of
E&Y's role constitutes a substantial change, notice of which is required pursuant to section 1518
of title II of the United States Code. For the avoidance of doubt, Sask, Township, and 129 are
the only members of the Oilsands Group placed into receivership by the Receivership Order.
There is no change to the proceedings for the other members of the Oilsands Group.

PLEASE TAKE FURTHER NOTICE that a copy of the Receivership Order is also available
on the Monitor's website, www.ey.com/ca/oilsandsquest. or upon request to the Monitor's
counsel.

Dated: New York, New York
       December 10,2012

                                                    ALLEN & OVERY LLP

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                                                    Altorneys for Ernst & Young Inc. , as
                                                    Foreign Representative of the Oi/sallds
                                                    Group
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                         EXHIBIT A
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                                                                                      Form 31
                                                                                 [Rule 6.22(4)]

COURT FILE NUMBER
                            1101-16110                             I CLE
COURT                       COURT OF QUEEN'S BENCH OF ALBERTA

JUDICIAL CENTRE             Calgary                                \
                                                                   I    Jl!lDICIAl CENTRE
APPLICANTS                  IN THE MATTER OF THE COMPANlE~'                l.OEC~ARY
                            CREDITORS ARRANGEMENT ACT, RS .
                            1985, c C-36, AS AMDENDED

                            AND IN THE MATTER OF OILSANDS
                            QUEST INC., OILSANDS QUEST SASK
                            INC., TOWNSHll' PETROLEUM
                            CORPORATION, STRIPPER ENERGY
                            SERVICES INC., 1291329 ALBERTA LTD.,
                            OILSANDS QUEST TECHNOLOGY INC.,
                            WESTERN PETROCHEMICALS CORP.
                            and 1259882 ALBERTA LTD.

DOCUMENT                    RECEIVERSIDP ORDER




ADDRESS FOR SERVICE            Josef G.A. Kruger Q.C.
AND                            Borden Ladner Gervais LLP
                               1900,5203"' Ave. S.W.
CONTACT INFORMATION            Calgary, AB T2P OR3
OF                             Telephone: (403) 232-9563
                               Facsimile: (403) 266-1395
PARTY FILING THIS              Email: jlcrue:er@blg.com
                               File No. 413255.000037
DOCUMENT


DATE ON WHICH ORDER            November 29, 2012
WAS PRONOUNCED

NAME OF JUSTICE WHO            The Honourable Justice A. Macleod
MADE THIS ORDER



UPON THE APPLICATION of Oil sands Quest Inc. ("OQI") represented herein by Ernst & Young Inc.
("E&Y") in its capacity as the Monitor (with extended powers) of OQI (the "Monitor"); AND UPON




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having read the Twelfth Report of the Monitor, and the pleadings and proceedings filed herein; AND
UPON hearing counsel for the Monitor, OQI, and from any other affected parties that may be present;

IT IS HEREBY ORDERED AND DECLARED THAT:

SERVICE

I.       The time for service of the notice of application for this order is hereby abridged and service
         thereof is deemed good and sufficient.

APPOINTMENT

2.       Pursuant to section 13(2) of the Judicature Act, R.S.A. 2000, c.J-2, 99(a) of the Business
         Corporations Act, R.S.A. 2000, c.B-9, and 65(7) of the Personal Property Security Act, R.S.A.
         2000, c.P-7 E&Y is hereby appointed Receiver, without security, of all of Oil sands Quest Sask
         Inc, 1291329 Alberta Ltd. and Township Petroleum Corporation (collectively the "Debtors"),
         current and future assets, undertakings and properties of every nature and kind whatsoever, and
         wherever situate, including all proceeds thereof (the "Property").

RECEIVER'S POWERS

3.       The Receiver is hereby empowered and authorized, but not obligated, to act at once in respect of
         the Property and, without in any way limiting the generality of the foregoing, the Receiver is
         hereby expressly empowered and authorized to do any of the following where the Receiver
         considers it necessary or desirable:

         (a)         to take possession of and exercise control over the Property and any and all proceeds,
                     receipts and disbursements arising out of or from the Property;

         (b)         to receive, preserve and protect the Property, or any part or parts thereof, including, but
                     not limited to, the changing of locks and security codes, the relocating of Property to
                     safeguard it, the engaging of independent security personnel, the taking of physical
                     inventories and the placement of such insurance coverage as may be necessary or
                                                                                                                   I
                                                                                                                   I
                     desirable;                                                                                    I

         (c)         to manage, operate and carry on the business of the Debtor, including the powers to enter
                     into any agreements, ineur any obligations in the ordinary eourse of business, cease to
                     carry on all or any part other business, or cease to perform any contracts of the Debtor;



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         (d)         to engage consultants, appraisers, agents, experts, auditors, accountants, managers,
                     counsel and such other persons from time to time and on whatever basis, including on a
                     temporary basis, to assist with the exercise of the Receiver's powers and duties, including
                     without limitation those conferred by this Order;

         ( e)        to purchase or lease machinery, equipment, inventories, supplies, premises or other assets
                     to continue the business of the Debtor or any part or parts thereof;

         (f)         to receive and collect all monies and accounts now owed or hereafter owing to the Debtor
                     and to exercise all remedies of the Debtor in collecting such monies, including, without
                     limitation, to enforce any security held by the Debtor;

         (g)         to settle, extend or compromise any indebtedness owing to or by the Debtor;

         (h)         (0    execute, assib'll, issue and endorse documents of whatever nature in respect of any of
                     (he Property, whether in the Receiver's name or in the name and on behalf of the Debtor,
                     for any purpose pursuant to this Order;

         (i)         to undertake environmental or workers' health and safety assessments of the Property and
                     operations of the Debtor;

         (j)         to initiate, prosecute and continue the prosecution of any and all proceedings and to
                     defend all proceedings now pending or hereafter instituted with respect to the Debtor, the
                     Property or the Receiver, and to settle or compromise any such proceedings.                The
                     authority hereby conveyed shall extend to such appeals or applications for judicial review
                     in respect of any order or judgment pronounced in any such proceeding, and provided
                     further that nothing in this Order shall authorize the Receiver to defend or settle the
                     action in which this Order is made unless otherwise directed by this Court.

         (1<)        to market any or all the Property, including advertising and soliciting offers in respect of
                     the Property or any part or parts thereof and negotiating such terms and conditions of sale
                     as the Receiver in its discretion may deem appropriate.

         (I)         to sell, convey, transfer, lease or assign the Property or any part or parts thereof out of the
                     ordinary course of business,

                     (i)        without the approval of this Court in respect of any transaction not exceeding
                                $100,000, provided that the aggregate consideration for all such transactions does
                                not exceed $500,000; and



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                      (ii)    with the approval of. this Court. in respect of any transaction in which the
                              purchase price or the aggregate purchase price exceeds the applicable amount set
                              out in the preceding clause,

   and in each such case notice under subsection 60(8) of the Personal Property Security Act, R.S .A.
   2000, c. P·7 shall not be required.

         (m)          to apply for any vesting order or other orders necessary to convey the Property or any
                      part or parts thereof to a purchaser or purchasers thereof, free and clear of any liens or
                      encumbrances affecting such Property;

         (n)          to report to, meet with and discuss with such affected Persons (as defined below) as the
                      Receiver deems appropriate all matters relating to the Property and the receivership, and
                      to share information, subject to such terms as to confidentiality as the Receiver deems
                      advisable;

          (0)         to register a copy of this Order and any other Orders in respect of the Property against
                      title to any of the Property;

          (P)         to apply for any permits, licences, approvals or permissions as may be required by any
                      governmental authority and any renewals thereof for and on behalf of and, if thought
                      desirable by the Receiver, in the name of the Debtor;

          (q)         to enter into agreements with any trustee in bankruptcy appointed in respect of the
                      Debtor, including, without limiting the generality of the foregoing, the ability to enter
                      into occupation agreements for any property owned or leased by the Debtor;.

          (r)         to exercise any shareholder, partnership, joint venture or other rights which the Debtor
                      may have; and

          (s)         to take any steps reasonably incidental to the exercise of these powers or the performance
                      of any statutory obligations;

          and in each case where the Receiver takes any such actions or steps, it shall be exclusively
          authorized and empowered to do so, to the exclusion of all other Persons (as defined below),
          including the Debtor, and without interference from any other Person.




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DUTY TO PROVIDE ACCESS AND CO-OPERATION TO THE RECEIVER

4.        (i) The Deblor, (ii) all of its current and former directors, officers, employees, agents,
          accountants, legal counsel and shareholders, and all other persons acting on its instructions or
          behalf, and· (iii) all other individuals, firms, corporations, governmental bodies or agencies, or
          other entities having notice of this Order (all of the foregoing, collectively, being "Persons" and
          each being a "Person") shall forthwith advise the Receiver of the existence of any Property in
          such Person's possession or control, shall grant immediate and continued access to the Property to
          the Receiver, and shall deliver all such Property (excluding Property subject to liens the validity
          of which is dependant on maintaining possession) to the Receiver upon the Receiver's request.

5.        All Persons shall forthwith advise the Receiver of the existence of any books, documents,
          securities, contracts, orders, corporate and accounting records, and any other papers, records and
          information of any kind related to the business or affairs of the Debtor, and any computer
          programs, computer tapes, computer disks, or other data storage media containing any such
          information (the foregoing, collectively, the "Records") in that Person's possession or control, and
          shall provide to the Receiver or permit the Receiver to make, retain and take away copies thereof
          and grant to the Receiver unfettered access to and use of accounting, computer, software and
          physical facilities relating thereto, provided however that nothing in this paragraph 5 or in
          paragraph 6 of this Order shall require the delivery of Records, or the granting of access to
          Records, which may not be disclosed or provided to the Receiver due to the privilege attaching to
          solicitor-client communication or documents prepared in contemplation of litigation or due to
          statutory provisions prohibiting such disclosure.

6.        If any Records are stored or otherwise contained on a computer or other electronic system of
          information storage, whether by independent service provider or otherwise, all Persons in
          possession or control of such Records shall forthwith give unfettered access to the Receiver for
          the purpose of allowing the Receiver to recover and fully copy all of the information contained
          therein whether by way of printing the information onto paper or making copies of computer
          disks or such other manner of remeving and copying the information as the Receiver in its
          discretion deems expedient, and shall not alter, erase or destroy any Records without the prior
          written consent of the Receiver. Further, for the purposes of this paragraph, all Persons shall
          provide the Receiver with all such assistance in gaining immediate access to the information in
          the Records as the Receiver may in its discretion require including providing the Receiver with




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         instructions on the use of any computer or other system and providing the Receiver with any and
         all access codes, account names and account numbers that may be required to gain access to the
         information .

NO PROCEEDINGS AGAINST THE RECEIVER

7.       No proceeding or enforcement process in any court or tribunal (each, a ''Proceeding''), shall be
         commenced or continued against the Receiver except with the written consent of the Receiver or
         with leave of this Court.

NO PROCEEDINGS AGAINST THE DEBTOR OR THE PROPERTY

8.       No Proceeding against or in respect of the Debtor or the Property shall be commenced or
         continued except with the written consent of the Receiver or with leave of this Court and any and
         all Proceedings currently under way against or in respect of the Debtor or the Property are hereby
         stayed and suspended pending further Order of this Court, provided, however, that nothing in this
         Order shall: (i) prevent any Person from commencing a proceeding regarding a claim that might
         otherwise become barred by statute Or an existing agreement if such proceeding is not
         commenced before the expiration of the stay provided by this paragraph 8; and (ii) affect a
         Regulatory Body's investigation in respect of the debtor or an action, suit or proceeding that is
         taken in respect of the debtor by or before the Regulatory Body, other than the enforcement of a
         payment order by the Regulatory Body or the Court. "Regulatory Body" means a person or body
         that has powers, duties or functions relating to the enforcement or administration of an Act of
                                                                                                               ,.
         Parliament or of the legislature ofa province. The contents of this paragraph will not apply to the
         Subsequent Claims Process pursuant to the Subsequent Claims Process Order by this Court dated
         November 29, 2012.

NO EXERCISE OF RIGHTS OF REMEDIES

9.       All rights and remedies (including, without limitation, set-off rights) against the Debtor, the
         Receiver, or affecting the Property, are hereby stayed and suspended cxcept with the written
         consent of the Receiver or leave of this Court, provided however that this stay and suspension
         does not apply in respect of any "eligible financial contracf' as defined in the BlA, and further
         provided that nothing in this paragraph shall (i) empower the Receiver or the Debtor to carry on
         any business which the Debtor is not lawfully entitled to carry on, (ii) exempt the Receiver or the




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         Debtor from compliance with statutory or regulatory provisions relating to health, safety or the
         environment, (iii) prevent the filing of any registration to preserve or perfect a security interest, or
         (iv) prevent the registration of a claim for lien.

NO INTERFERENCE WITH THE RECEIVER

10.      No Person shall discontinue, fail to honour, alter, interfere with, repudiate, terminate or cease to
         perform any right, renewal right, contract, agreement, licence or permit in favour of or held by the
         Debtor, without written consent of the Receiver or leave of this Court. Nothing in this Order
         shall prohibit any party to an "eligible financial contract" (as defined in section 11.1(1) of the
         Companies' Creditors Arrangement Act) with the Debtor from terminating such contract or
         exercising any rights of sct-off, in accordance with its terms.

CONTINUATION OF SERVICES

II.      All Persons having oral or written agreements with the Debtor or statutory or regulatory mandates
         for the supply of goods and/or services, including without limitation, all computer software,
         communication and other data services, centralized banking services, payroll scrvices, insurance,
         transportation services, utility or other services to the Debtor are hereby restrained until further
         Order of this Court from discontinuing, altering, interfering with or terminating the supply of
         such goods or services as may be required by the Receiver, and this Court directs that the
         Receiver shall be entitled to the continued use of the Debtor's current telephone numbers,
         facsimile numbers, internet addresses and domain names, provided in each casc that the normal
         prices or charges for all such goods or services received after the date of this Order are paid by
         the Receiver in accordance with normal payment practices of the Debtor or such other practices
         as may be agreed upon by the supplier or service provider and the Receiver, or as may be ordered
         by this Court.

RECEIVER TO HOLD FUNDS

12.      All funds, monies, cheques, instruments, and other forms of payments received or collected by
         the Receiver from and after the making of this Order from any source whatsoever, including
         without limitation the sale of all or any of the Property and the collection of any accounts
         receivable in whole or in part, whether in cxistence on the date of this Order or hereaftcr coming
         into existence, shall be deposited into one or more new accounts to be opened by the Receiver




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         (the "Post Receivership Accounts") and the monies standing to the credit of such Post
         Receivership Accounts from time to time, net of any disbursements provided for herein, shall be
         held by the Receiver to be paid in accordance with the terms of this Order or any further order of
         this Court.

EMPLOYEES

13.      Subject to employees' rights to tenninate their employment, all employees of the Debtor shall
         remain the employees of the Debtor until such time as the Receiver, on the Debtor's behalf, may
         tenninate the employment of such employees. The Receiver shall not be liable for any employee-
         related liabilities, including any successor employer liabilities as provided for in section
          14.06(1.2) of the BIA, other than such amounts as the Receiver may specifically agree in writing
         to pay, or in respect of its obligations under sections 81.4(5) or 81.6(3) of the BIA or under the
          Wage Earner Protection Program Act, S.C. 2005, c.47 ("WEPPA").

14.      Pursuant to clause 7(3)(c) of the Personal Information Protection and Electronic Documents Act,
         S.C. 2000, c. 5, the Receiver shall disclose personal information of identifiable individuals to
         prospective purchasers or bidders for the Property and to their advisors, but only to the extent
         desirable Or required to negotiate and attempt to complete one or more sales of the Property
         (each, a "Sale"). Each prospective purchaser or bidder to whom such personal infonnation is
         disclosed shall maintain and protect the privacy of such infonnation and limit the use of such
         infonnation to its evaluation of the Sale, and if it does not complete a Sale, shall return all such
          infonnation to the Receiver, or in the alternative destroy all such infonnation. The purchaser of
         any Property shall be entitled to continue to use the personal infonnation provided to it, and
         related to the Property purchased, in a manner which is in all material respects identical to the
          prior use of such infonnation by the Debtor, and shall return all other personal infonnation to the
         Receiver, or ensure that a11 other personal infonnation is destroyed.

LIMITATION ON ENVIRONMENTAL LIABILITIES

15.       (a)         Notwithstanding anything in any federal or provincial law, the Receiver is not personally
          liable in that position for any environmental condition that arose or environmental damage that
          occurred:

                      (i)     before the Receiver's appointment; or




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                     (ii)    after the Receiver's appointment unless it is established that the condition arose
                             or the damage occurred as a result of the Receiver's gross negligence or wilful
                             misconduct.

         (b)         Nothing in sub-paragraph (a) exempts a Receiver from any duty to report or make
                     disclosurc imposed by a law referred to in that sub-paragraph.

         (c)         Notwithstanding anything in any federal or provincial law, but subject to sub-paragraph
                     (a) hereof, where an order is made which has the effect of requiring the Receiver to
                     remedy any environmental condition or environmental damage affecting the Property, the
                     Receiver is not personally liable for failure to comply with the order, and is not
                     personally liable for any costs that are or would be incurred by any person in earrying out
                     the terms of the order,

                     (i)     if, within such time as is specified in the order, within 10 days after the order is
                             made if no time is so specified, within 10 days after the appointment of the
                             Receiver, if the order is in effect when the Recciver is appointed, or during the
                             period of the stay referred to in clause (ii) below, the Receiver:

                             A.       complies with the order, or

                             B.       on notice to the person who issued the order, abandons, disposes of or
                                      otherwise releases any interest in any real property affected by the
                                      condition or damage;

                     (ii)    during the period of a stay of the order granted, on application made within the
                             time specified in the order referred to in clause (i) above, within 10 days after the
                             order is made or within 10 days after the appointment of the Receiver, if the
                             order is in effect when the Receiver is appointed, by,

                             A.       the court or body having jurisdiction under the law pursuant to which the
                                      order was made to enable the Receiver to contest the order; or

                             B.       the court having jurisdiction in bankruptcy for the purposes of assessing
                                      the economic viability of complying with the order; or

                     (iii)   if the Receiver had, before the order was made, abandoned or renounced or been
                             divested of any interest in any real property affected by the condition or damage.




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LIM1TATION ON THE RECEJVER'S LIABILITY

16.      The Receiver shall incur no liability or obligation as a result of its appointment or canying out the
         provisions of this Ordcr, save and except for any gross negligence or wilful misconduct on its
         part, or in respect of its obligations under sections 81.4(5) or 81.6(3) of the BrA or under the
          WEPPA. Nothing in this Order shall derogate from the protection afforded to the Receiver by
         Section 14.06 of the BrA or any other applicable legislation.

RECEIVER'S ACCOUNTS

17.       The Receiver and counsel to the Receiver shall be paid their reasonable fees and disbursements,
          in each case, incurred at their standard rates and charges. The Receiver and counsel to the
          Receiver shall be entitled to and are hereby granted a charge (the "Receiver's Charge") on the
         Property, as security for such fees and disbursements, incurred both before and after the making
          of this Order in respect of these proceedings, and that the Receiver's Charge shall form a first
          charge on the Property in priority to all security interests, trusts, liens, charges and encumbrances,
         statutory or otherwise, in favour of any Person but subject to section 14.06(7), 81.4(4) and 81.6(2)
          of the BlA.

18.       The Receiver and its legal counsel shall pass their accounts from time to time.

19.       Prior to the passing of its accounts, the Receiver shall be at liberty from time to time to apply
          reasonable amounts, out of the monies in its hands, against its fces and disbursements, including
          the legal fees and disbursements, incurred at the normal rates and charges of the Receiver or its
          counsel, and such amounts shall constitute advanccs against its remuneration and disbursements
          when and as approved by this Court.

FUNDING OF THE RECEIVERSHIP

20.       The Receiver be at liberty and it is hereby empowered to borrow by way of a revolving credit or
          otherwise, such monies from time to time as it may consider necessary or desirable, provided that
          the outstanding principal amount does not exceed $500,000 (or such greater amount as this Court
          may by further Order authorize) at any time, at such rate or rates of interest as it deems advisable
          for such period or periods of time as it may arrange, for the purpose of funding the exercise of the
          powers and duties conferred upon the Rcceiver by this Order, including interim expenditures.
          The whole of the Property shall be and is hereby charged by way of a fixed and specific charge



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       _ (the "Receivcr's_Borrowings .Charge")_as security for the payment of the monies borrowed,
          together with intcrcst and charges thereon, in priority to all security interests, trusts, liens, charges
          and encumbrances, statutory or otherwise, in favour of any Person, but subordinate in priority to
          the Receiver's Charge and the charges set out in sections 14.06(7), 81.4(4) and 81.6(2) of the
          BlA. The Receiver'S Charge and the Receiver's Borrowing Charge will be subordinate to the
          Charges created by Initial Order dated Novembcr 29, 2011 in Action No. 1101 · 16110 and the
          subsequent amendments thereto.

21.       Neither the Receiver'S Borrowings Charge nor any other security granted by the Receiver in
          connection with its borrowings under this Order shall be enforced without leave of this Court.


22 .      The Receiver is at liberty and authorized to issue certificates substantially in the form annexed as
          Schedule "A" hereto (the ''Receiver's Certificates") for any amount borrowed by it pursuant to
          this Order.

23 .      The monies from time to time borrowed by the Receiver pursuant to this Order or any further
          order of this Court and any and all Receiver's Certificates evidencing the same or any part thereof
          shall rank on a pari passu basis, unless otherwise agreed to by the holders of any prior issued
          Receiver's Certificates.

ALLOCATION


24.       Any interested party may apply to this Court on notice to any other party likely to be affected, for
          an order allocating the Receiver's Charge and Receiver's Borrowings Charge amongst thc various
          assets comprising the Property.

CLAIMS PROCESS


25 .      The Claims Process which was conducted by OQI and the Debtor pursuant to the Claims Process
          Order dated June 28, 2012 in Action No. 1101·16110, is hereby declared to be binding on the
          Debtor, the Receiver and all persons who were subject to the Claims Process Order.                   The
          Receiver is hereby authorized to adopt the Claims Process conducted pursuant to the Claims
          Process Order as if such Claims Process was conducted in this receivership in respect of all
          claims against the Debtors arising on or before November 29, 2011. All steps taken by the
          Monitor regarding the Claims Process is hereby declared to be valid and effective in this
          receivership.



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26.      The Subsequent Claims Process to be conducted by OQI and the Debtor pursuant to the
         Subsequent Claims Process Order dated November 29, 2012 in Action No. 1101-16110 is hereby
         declared to also be binding On the Debtor, the Receiver and all persons subject to the Consequent
         Claims Procedure Order. All steps to be taken by the Monitor and the Debtor regarding the
         Consequent Claims Process is hereby declared to be valid and effective in this receivership.

GENERAL

27 .     The Receiver may from time to time apply to this Court for advice and directions in the discharge
         of its powers and duties hereunder.

28.      Notwithstanding Rule 6.11 of the Alberta Rules of Court, unless otherwise ordered by this Court,
         the Receiver wilJ report to the Court from time to time, which reporting is not required to be in
         affidavit form and shall be considered by this Court as evidence.

29.      Nothing in this Order shaIl prevent the Receiver from acting as a trustee in bankruptcy of the
         Debtor.

30.      This Court hereby requests the aid and recognition of any court, tribunal, regulatory or
         administrative body having jurisdiction in Canada or in the United States to give effect to this
         Order and to assist the Receiver and its agents in carrying out the terms of this Order. All courts,
         tribunals, regulatory and administrative bodies are hereby respectfully requested to make such
         orders and to provide such assistance to the Receiver, as an officer of this Court, as may be
         necessary or desirable to give effect to this Order or to assist the Receiver and its agents in
         carrying out the terms of this Order.

31.      The Receiver be at liberty and is hereby authorized and empowered to apply to any court,
         tribunal, regulatory or administrative body, wherever located, for the recognition of this Order
         and for assistance in carrying out the terms of this Order and that the Receiver is authorized and
         empowered to act as a representative in respect of the within proceedings for the purpose of
         having these proceedings recognized in a jurisdiction outside Canada.

32.      The Plaintiff shall have its costs of this motion, up to and including entry and service of this
         Order, provided for by the terms of the Plaintiffs security or, if not so provided by the Plaintiffs




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                                                    • 13 .



         security, then on a substantial indemnity basis to be paid by the Receiver from the Debtor's estate
         with such priority and at such time as this Court may detennine.

33.      Any interested party may apply to this Court to vary or amend this Order on not less than 7 days'
         notice to the Receiver and to any other party likely to be affected by the order sought or upon
         such other notice, if any, as this Court may order.

FILING

34.      This Order is issued and shall be filed in Court of Queen's Bench Action No. 1101 · 16110.




                                                     Justice of the Court of Queen's Bench of Alberta




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                                               SCHEDULE "A"
                                         RECEIVER CERTIF1CATE

CERTIFICATE NO.

AMOUNT                   $


1.    THIS IS TO CERTIFY that [RECEIVER'S NAME]. the interim receiver and receiver and manager (tlle
      "Receiver") of all of the assets, undertakings and properties of [DEBTOR'S NAME] appointed by Order of
      the Court of Queen's Bench of Alberta and Court of Queen's Bench of Alberta in Bankruptcy and
      Insolvency (collectively, the "Court") dated the _ _ day of                       , 2005 (the "Order")
      made in action numbers                     , has received as such Receiver from the holder of this certificate
      (the "Lender") the principal sum of $          , being part of the total principal sum of $_ __ _ _ _
      which the Receiver is authorized to borrow under and pursuant to the Order.

2.    The principal sum evidenced by this certificate is payable on demand by the Lender with interest thereon
      calculated and compounded [daily] [monthly not in advance on the _ _ day of each month] after the date
      hereof at a noion.1 rate per annum equal to the rale of ___ per cent above the prime commercial
      lending rate of Bank of _ _ _ from time to time.

3.    Such principal sum with interest thereon is, by the terms of the Order, together with the principal sums and
      interest thereon of all other certificates issued by the Receiver pursuant to the Order or to any further order
      of the Court, a charge upon the whole of the Property, in priority to the security interests of any other
      person, but subject to the priority of thc charges set out in the Order and the Bankruptcy al/d Insolvel/cy
      Act, and the right of the Receiver to indemnify itself out of such Property in respcct of its remuneration and
      expenses.

4.    All sums payable in respect of principal and interest under this certificate are payable at the main office of
      the Lender at • .

5.    Until all liability in respect of this certificate has been terminated, no certificates creating charges ranking
      or purporting to rank in priority to this certificate shall be issued by the Receiver to any person other than
      the holder of this certificate without the prior written consent of the holder of this certificate.

6.    The charge securing this certificate shall operate so as to permit the Receiver to deal with the Property) as
      authorized by the Order and as authorized by any further or other order of the Court.

7,    The Receiver does not undertake, and it is not undcr any personal liability, to pay any sum in respect of
      which it may issue certificates under the terms of the Order.

      DATED the _ _ _ day of _ _ _ _ _ _, 20_,

                                                           [RECEIVER'S NAME], solely in its capacity as
                                                           Receiver of the Property (as defined in the Order), and
                                                           not in its personal capacity


                                                           Per:
                                                           Name:
                                                           Title:
